Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 1 of 16            PageID #: 413




                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA                   )
                                            )
 v.                                         )    CRIM. NOS. 98-00183-RV-C
                                            )               98-00184-WS-C
 PERRY MALONE                               )

      UNITED STATES’ OPPOSITION TO MALONE’S MOTION FOR A
                      REDUCED SENTENCE

       The United States, by and through Richard W. Moore, the United States

 Attorney for the Southern District of Alabama, submits this response in opposition to

 Perry Malone’s (“Malone’s”) motion for a reduced sentence under the First Step Act of

 2018. Malone received separate life sentences in two cases before this Court based on

 his extensive distribution of cocaine and crack cocaine in separate conspiracies. The

 Court’s sentencing findings, made several decades ago, cannot be altered or set aside by

 a First Step Act motion. For the reasons set out below, this Court should deny Malone’s

 motion.1

 I.    Background and Procedural History

       Malone received life sentences as a result of his convictions in two federal cases

 before this Court: Case No. 98-00183 and Case No. 98-00184. Both cases centered on


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        Malone filed two motions, one in each case. The motions raise the same legal
 issues, so the United States has submitted this single, consolidated response to both
 motions.
                                            1
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 2 of 16           PageID #: 414




 Malone’s distribution of cocaine and crack cocaine as part of separate conspiracies. In

 his present motion, Malone acknowledges that his indictment asserted more than 280

 grams of crack cocaine. [Case No. 98-00183, Doc. No. 265, pp. 2, 4] First, the

 indictment in Case No. 98-00183 charged him with conspiracy to possess more than 5

 kilograms of cocaine and 1.5 kilograms of crack cocaine. [Id., pp. 2–3] Second, the

 indictment in Case No. 98-00184 charged Malone with a conspiracy to distribute

 approximately 1 kilogram of crack cocaine. [Id., p. 4] A separate count charged him

 with aiding and abetting in connection with 285 grams of crack cocaine. [Id.]

       Both sentencing judges in Malone’s case subsequently adopted the findings in

 the presentence investigation report (the “PSI”), which implicated Malone in at least

 1.5 kilograms of crack cocaine for each conspiracy. In Case No. 98-00183, the Court

 found as follows: “The testimony that the Court is aware of is adequate to allow the

 Court to conclude that the Defendant is responsible for more than 1.5 kilos of crack

 cocaine in the offense and did give untruthful testimony at trial.” [Case No. 98-00183,

 Doc. No. 260, p. 68] Subsequently, the Court adopted the findings in the PSI in Case

 No. 98-00184. [Case No. 98-00184, Doc. No. 270, p. 4] Malone also had a long

 criminal record, including multiple convictions related to his possession and

 distribution of cocaine. See [Case No. 98-00183, Doc. No. 260, p. 74]




                                           2
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 3 of 16            PageID #: 415




       In his present motion, Malone seeks a reduced sentence of 262 months under

 Section 404 of the First Step Act. [Case No. 98-00183, Doc. No. 265, p. 13]2 He asserts

 that he “has served approximately 258 months of actual custody.” [Id.] Malone argues

 both that he is eligible for a reduction under the terms of Section 404 and that this

 Court should exercise its discretion to reduce his sentence. First, he contends that this

 Court cannot rely on judge-found sentencing facts for purposes of a First Step Act

 motion. [Id., p. 7] Second, he claims that he should receive a reduced sentence because

 he has pursued various rehabilitation opportunities while incarcerated. [Id., p. 10] This

 Court directed the United States to respond, and this is the United States’ response in

 opposition.

 II.   Standard of Review

       This motion implicates two statutes, the First Step Act of 2018 and the Fair

 Sentencing Act of 2010 (the “Fair Sentencing Act”). As discussed in more detail below,

 defendants who are sentenced for violating the Controlled Substances Act typically are

 subject to various statutory penalties. See 21 U.S.C. § 841(b)(1). Generally, these

 statutory penalties become higher depending on the quantity of the controlled

 substance involved. Id. At the time of Malone’s conviction, a defendant was subject to

 the highest range of statutory penalties in § 841(b)(1)(A) if the defendant was



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       Malone’s motion is Docket Entry No. 282 in Case No. 98-00184.
                                            3
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 4 of 16              PageID #: 416




 responsible for at least 50 grams of crack cocaine. In 2010, Congress passed the Fair

 Sentencing Act, which changed some of these penalty thresholds. Fair Sentencing Act

 of 2010, Pub. L. 111-220, § 2, 124 Stat. 2372 (2010). Relevant here, Congress changed

 the threshold for 21 U.S.C. § 841(b)(1)(A) from 50 grams to 280 grams, and it changed

 the threshold for 21 U.S.C. § 841(b)(1)(B) from 5 grams to 28 grams. Id. By and large,

 the Fair Sentencing Act was not retroactive to defendants who had been sentenced

 before Congress enacted it. See Dorsey v. United States, 567 U.S. 260, 264 (2012)

 (concluding that the Fair Sentencing Act applied “to offenders who committed a crack

 cocaine crime before August 3, 2010, but were not sentenced until after August 3”).

       Congress provided a limited retroactive remedy for pre-Fair Sentencing Act

 crack cocaine offenders in December 2018, when it passed the First Step Act. Under

 Section 404 of the First Step Act, certain defendants are eligible to seek a reduced

 sentence if they meet the criteria under Section 404. Section 404 requires a multi-step

 analysis. First, a defendant is only eligible if he received a sentence for a “covered

 offense,” which “means a violation of a Federal criminal statute, the statutory penalties

 for which were modified by section 2 or 3 of the Fair Sentencing Act of 2010 . . . that

 was committed before August 3, 2010.” First Step Act of 2018, Pub. L. 115-391, Tit.

 IV, § 404(a), 132 Stat. 5194, 5222 (2018). Second, a defendant is only entitled to narrow

 relief, specifically “a reduced sentence as if sections 2 and 3 of the Fair Sentencing Act

 of 2010 . . . were in effect at the time the covered offense was committed.” Id., § 404(b).
                                             4
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 5 of 16            PageID #: 417




 Finally, even if a defendant is eligible for the relief he seeks, this Court has broad

 discretion to determine whether to grant that relief. Id., § 404(c) (“Nothing in this

 section shall be construed to require a court to reduce any sentence pursuant to this

 section.”). The sentencing factors in 18 U.S.C. § 3553(a) inform the Court’s discretion.

 III.   Discussion

        This Court should deny Malone’s motion for two reasons. First, Malone seeks

 relief that falls outside the scope of the First Step Act. Section 404 does not permit

 defendants to re-litigate drug quantity determinations from an initial sentencing

 proceeding.3 Thus, he is ineligible for the relief he seeks. Second, even if he were

 eligible, this Court should not reduce his sentence. The United States addresses each

 reason in turn.

        A.    Malone cannot Set Aside the Drug Quantity Determinations at his
              Sentencing

        In short, Malone seeks to set aside three life sentences. First, in Case No. 98-

 00183, he seeks to set aside the life sentence on the conspiracy count. Second, in Case

 No. 98-00184, he seeks to set aside his life sentences on the conspiracy count and on a

 separate possession count. Notably, he does not assert in his motion that he was actually



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        Malone makes several passing references to the COVID-19 pandemic, but he
 makes no specific motion premised on that pandemic. Instead, he clearly relies on
 Section 404, which provides relief to certain crack cocaine offenders on a discretionary
 basis.
                                            5
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 6 of 16            PageID #: 418




 responsible for less than 280 grams of crack cocaine for any of these charges. Instead,

 he frames the issue as follows: “Are judicial findings at sentencing sufficient to render

 a defendant ineligible for First Step Act [r]elief?” [Case No. 98-00183, Doc. No. 265,

 p. 7] The answer is yes.

        Beginning with the plain language of the statute, multiple features of Section 404

 confirm that Congress did not intend for courts to revisit drug quantity determinations

 made during the initial sentencing proceedings. See United States v. Townsend, 630 F.3d

 1003, 1010 (11th Cir. 2011) (“As always with questions of statutory interpretation, our

 inquiry begins with the plain language of the statute.”). When Congress passed the First

 Step Act, it defined the scope of Section 404 in two important ways: (1) it limited the

 application to a “covered offense” as defined by Section 404(a); and (2) it provided that

 a sentencing court may only “impose a reduced sentence as if sections 2 and 3 of the

 Fair Sentencing Act . . . were in effect at the time the covered offense was committed.”

 First Step Act of 2018, Pub. L. 115-391, Tit. IV, § 404, 132 Stat. 5194, 5222 (2018).

 Nothing in the text of Section 404 supports the notion that a defendant can contest

 drug quantity determinations from sentencing. Instead, the statute allows only for

 specific relief to a particular class of defendants.

        Working in tandem, these two provisions confirm the scope of available relief.

 The term “covered offense” was defined to mean “a violation of a Federal criminal

 statute, the statutory penalties for which were modified by section 2 or 3 of the Fair
                                               6
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 7 of 16              PageID #: 419




 Sentencing Act of 2010 . . . that was committed before August 3, 2010.” Id. at § 404(a).

 The use of the term “violation” is significant, as it signals that courts should consider

 the full facts in the record and not just the defendant’s conviction. See Sedima S.P.R.L.

 v. Imrex Co., 473 U.S. 479, 489 (1985) (recognizing that the term “violation” refers not

 to just a criminal conviction but “to a failure to adhere to legal requirements”).

 Moreover, Section 404(a) ties relief to the modifications in sections 2 and 3 of the Fair

 Sentencing Act. Although the Fair Sentencing changed certain quantity thresholds for

 crack cocaine offenses, the statute said nothing as to how the United States must

 establish drug quantities for purposes of sentencing. Instead, those doctrines evolved

 through separate lines of judicial authority.

        Section 404(b) reinforces this interpretation of the statute. It allows only for

 courts to “impose a reduced sentence as if” the Fair Sentencing Act applied. First Step

 Act of 2018, Pub. L. 115-391, Tit. IV, § 404(b), 132 Stat. 5194, 5222 (2018). As the

 Eleventh Circuit has recognized, the language in Section 404(b) “implies that Congress

 has expressly permitted courts to retroactively apply only the Fair Sentencing Act to

 defendants who qualify, while otherwise considering their sentence against the

 backdrop of the legal landscape at the time of their offense.” United States v. Carter, 792

 F. App’x 660, 663 (11th Cir. 2019) (unpublished). Reinforcing the point, the Court

 explained that “[t]he statute’s express statement that sections 2 and 3 of the Fair

 Sentencing Act are to be applied retroactively indicates that Congress did not intend
                                                 7
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 8 of 16               PageID #: 420




 that other changes in law should similarly be applied as if they were in effect at the time

 of the offense.” Id. at 664. Carter is persuasive because its interpretation flows naturally

 from the text of the statute, and this Court should apply it here.

        This interpretation is also consistent with Section 404’s structure and its context

 as part of a broader statutory scheme. See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545

 U.S. 546, 558 (2005) (recognizing that statutory analysis typically accounts for “the

 statute’s text in light of context, structure, and related statutory provisions”). For

 starters, this Court should read Section 404 against the statutory backdrop in 18 U.S.C.

 § 3582.    As a general matter, Congress has provided that, with certain narrow

 exceptions, a criminal judgment that includes a prison sentence “constitutes a final

 judgment for all other purposes.” 18 U.S.C. § 3582(b). Congress placed one set of

 those narrow exceptions in § 3582(c). Again, Congress began with the clear statement

 that “[t]he court may not modify a term of imprisonment once it has been imposed”

 unless certain exceptions apply. Id. at § 3582(c). One exception is “to the extent

 otherwise expressly permitted by statute[.]” Id. at § 3582(c)(1)(B). Accordingly,

 motions under Section 404 are read most naturally as motions pursuant to §

 3582(c)(1)(B). In turn, Congress’ broad definition of finality illustrates that the scope

 of Section 404 should be construed both narrowly and consistently with the strong

 policy interests that favor the finality of criminal judgments.


                                              8
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 9 of 16             PageID #: 421




       Indeed, both the Supreme Court and the Eleventh Circuit have adopted similar

 interpretations of motions pursuant to § 3582(c)(2), a provision that allows for certain

 defendants to seek reduced sentences based on retroactive amendments to the Federal

 Sentencing Guidelines. Id. at § 3582(c)(2). In Dillon v. United States, the Court

 interpreted § 3582(c)(2) with a view toward the general rule against modifications of

 imprisonment. 560 U.S. 817, 819 (2010). The Court rejected the defendant’s argument

 that he was entitled to a full-dress resentencing proceeding. Id. at 825–26. The

 Eleventh Circuit similarly rejected efforts to re-litigate extraneous sentencing decisions

 under the cloak of § 3582(c)(2). See, e.g., United States v. Moreno, 421 F.3d 1217, 1220

 (11th Cir. 2005) (refusing to consider a claim of Booker4 error in a § 3582(c)(2)

 proceeding).

       For that reason, the Eleventh Circuit has indicated in unpublished decisions that

 a defendant may not set aside drug quantity findings at sentencing under Section 404.

 See United States v. Brown, 803 F. App’x 322, 324 (11th Cir. 2020) (unpublished)

 (concluding that a defendant could not use a First Step Act motion to challenge his

 sentencing procedures). See also United States v. Means, 787 F. App’x 999, 1001 (11th Cir.

 2019) (unpublished) (concluding that the First Step Act did not affect the defendant’s

 sentence “because he was attributed with over five kilograms of cocaine, far in excess


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       This notation refers to United States v. Booker, 543 U.S. 220 (2005), which
 concluded that the Guidelines are advisory, not mandatory.
                                             9
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 10 of 16              PageID #: 422




 of the new 280-gram triggering amount”). Moreover, the Eleventh Circuit recently

 heard oral arguments in multiple cases involving the First Step Act, including United

 States v. Jones, a case that was before this Court. See Eleventh Circuit Docket No. 19-

 11505. The Court’s decision in Jones is likely to shed substantial light on this case.

        Applying that framework here, Malone’s motion should fail. He does not contest

 that he was held accountable for at least 280 grams of crack cocaine at the time of his

 sentencing. Accordingly, he cannot obtain a reduced sentence now because he remains

 subject to those drug quantity findings.

        In his brief, Malone cites to various courts that have adopted a different

 interpretation of Section 404. [Case No. 98-00183, Doc. No. 265, pp. 7–9] As this

 Court has recognized, though, a defendant cannot “litigate sentencing matters as to

 which the First Step Act and retroactive application of the FSA have no bearing or

 effect.” United States v. Jones, No. 94-0067, 2019 WL 1560879, at *2 (S.D. Ala. April 9,

 2019) (Steele, J.). As noted above, the Jones case has been argued in the Eleventh Circuit

 and likely will shed further light on the outcome in this case. Moreover, the Eleventh

 Circuit’s unpublished decisions in Means, Carter, and Jones strongly indicate that the

 Eleventh Circuit will adopt an interpretation of Section 404 that is consistent with its

 plain language.

        Indeed, what Malone ultimately seeks is to have this Court apply the principles

 in Apprendi v. New Jersey, 530 U.S. 466 (2000) and Alleyne v. United States, 570 U.S. 99
                                             10
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 11 of 16               PageID #: 423




 (2013) to First Step Act motions. Nothing in the text of Section 404 supports this

 approach. Both Apprendi and Alleyne concern initial sentencing proceedings, not post-

 conviction motions for a discretionary sentence reduction. Put simply, Malone cannot

 receive a higher sentence as a result of this motion; at worst, he remains subject to his

 prior sentence. Moreover, the Eleventh Circuit has recognized that these decisions are

 not even retroactive on collateral review. In re Joshua, 224 F.3d 1281, 1283 (11th Cir.

 2000) (concluding that “Apprendi was decided in the context of a direct appeal, and the

 Supreme Court has not applied it in a case on collateral review”). See also Jeanty v. Warden

 FCI-Miami, 757 F.3d 1283, 1285 (11th Cir. 2014) (noting that Alleyne is not retroactive

 to cases on collateral review either because “[i]f Apprendi’s rule is not retroactive on

 collateral review, then neither is a decision applying its rule”). Apprendi and Alleyne have

 no application to the First Step Act, which serves different purposes than an initial

 sentencing proceeding.

        Finally, this interpretation of the First Step Act would create an absurd result for

 two reasons. This Court should avoid that outcome here. See Regions Bank v. Provident

 Bank, 345 F.3d 1267, 1276 (11th Cir. 2003) (“[W]e are mindful that the Supreme Court

 has repeatedly held that if possible, a court should avoid construing a statute in a way

 that produces absurd results.”). First, this interpretation would provide crack cocaine

 defendants greater rights to change their sentences than other controlled substance

 defendants. Put another way, a pre-2010 crack cocaine offender could re-litigate drug
                                             11
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 12 of 16              PageID #: 424




 quantity determinations that a powder cocaine offender or a heroin offender could not.

 Second, such an outcome would create arbitrary and inconsistent results, privileging

 earlier crack cocaine defendants over more recent ones simply because the earlier crack

 cocaine defendants were sentenced under a legal regime that has since changed. These

 outcomes are inconsistent with Section 404’s purpose to reduce sentencing disparities.

 Instead, Section 404 allowed defendants to seek a sentence reduction only when the

 crack cocaine for which they were held responsible would now fall under a different

 threshold. Accordingly, this Court should avoid that result here.

       In sum, this Court should reject Malone’s contention that courts may set aside

 drug quantity findings as part of a motion under Section 404. Put simply, Apprendi and

 Alleyne do not apply in this context. Instead, the text makes clear that a defendant only

 is entitled to a reduced sentence “as if” the Fair Sentencing Act applied at the time.

 First Step Act of 2018, Pub. L. 115-391, Tit. IV, § 404(b), 132 Stat. 5194, 5222 (2018).

 All other sentencing decisions remain unchanged, and defendants like Malone remain

 subject to the drug quantities as established at sentencing. Malone has advanced no

 other argument that he is otherwise eligible for a sentence reduction, and thus this Court

 should deny his motion.

       B.     This Court should Decline to Reduce Malone’s Sentences

       Even if this Court concludes that Malone is eligible for relief, it still should deny

 his motion for a reduced sentence. As this Court exercises its discretion under the First
                                            12
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 13 of 16           PageID #: 425




 Step Act, it should consider Malone’s motion in the light of the sentencing factors in

 18 U.S.C. § 3553(a). Based on those factors, his life sentences remain appropriate in

 his case.

        Malone trafficked in large quantities of crack cocaine, a dangerous controlled

 substance.   Indeed, he has convictions in this Court stemming from multiple

 conspiracies to distribute crack cocaine.      These convictions demonstrate that he

 committed serious offenses and demonstrated a severe disregard for the law. 18 U.S.C.

 §§ 3553(a)(1), 3553(a)(2)(A). Similarly, Malone had prior convictions in connection

 with his possession and distribution of cocaine. See [Case No. 98-00183, Doc. No. 260,

 p. 74] (discussing Malone’s prior narcotics convictions at sentencing). At the time of

 his sentencing, Malone had also amassed a criminal history category of VI out of VI.

 [Case No. 98-00183, Doc. No. 260, p. 73; Case No. 98-00184, Doc. No. 270, p. 4] The

 extent of Malone’s conduct and his criminal history demonstrate that a life sentence

 was necessary to provide adequate punishment, to deter Malone from further crimes,

 and to protect the public. 18 U.S.C. §§ 3553(a)(2)(A), 3553(a)(2)(B), 3553(a)(2)(C).

        Moreover, Malone’s sentencing hearing in Case No. 98-00183 shed light on other

 troubling aspects of Malone’s conduct.         For starters, Malone raised a litany of

 complaints against his trial counsel and the United States at his sentencing hearing. He

 accused a prosecutor of perjury. [Case No. 98-00183, Doc. No. 260, p. 14] He claimed

 that his trial attorney lied to him. [Id., p. 12] He insinuated that Judge Butler, who
                                           13
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 14 of 16               PageID #: 426




 presided over Case No. 98-00184, had engaged in misconduct. [Id., pp. 37–38] He also

 claimed that the “government” had framed him for a murder. [Id., pp. 49–50]

        When the Court imposed sentence, it found that Malone had lied during his trial.

 [Id., pp. 68, 71] The Court also noted that it was “not surprised at your attitude because

 your attitude has been expressed throughout the trial and throughout all of these

 proceedings.” [Id., p. 75] Put simply, Malone’s conduct at sentencing demonstrated a

 disregard for the rule of law, for the administration of justice, and continues to call into

 question his willingness to follow the law if released.         18 U.S.C. §§ 3553(a)(1),

 3553(a)(2)(A).

        Malone contends that he has rehabilitated his life. [Case No. 98-00183, Doc.

 No. 265, p. 10] Although this Court may consider that rehabilitation evidence in this

 case, it does not outweigh the other circumstances that continue to support the life

 sentences in this case. See United States v. Williams, 557 F.3d 1254, 1256 (11th Cir. 2009)

 (concluding that a court “may consider the defendant’s post-sentencing conduct” in

 connection with a motion pursuant to 18 U.S.C. § 3582(c)(2)). But see United States v.

 Brewer, 536 F. App’x 923, 926 (11th Cir. 2013) (unpublished) (“Although we have held

 that the court may consider defendant’s post-sentencing conduct, we have never held

 that it must.” (emphasis in the original)).

        Indeed, Malone’s motion includes some notable omissions.              He does not

 apologize, for example, for his untruthful testimony at trial. Nor does he apologize for
                                               14
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 15 of 16            PageID #: 427




 his extensive allegations of misconduct—against the United States, his trial attorney,

 and the Court—at sentencing. He does not meaningfully address his extensive criminal

 history, from his multitude of federal convictions to his previous state convictions.

       Instead, he attempts to downplay that history. He claims that he “has no history

 of violence, no violent prior convictions, [and] there was no gun or violence involved

 in his case.” [Case No. 98-00183, Doc. No. 265, p. 10] This Court should reject

 Malone’s attempts to downplay his criminal history. He amassed a severe criminal

 history score and repeatedly violated the law with respect to controlled substances.

 Although his attempts to improve his life may be laudable, they do not outweigh the

 severe harms that Malone inflicted on his community by repeatedly distributing

 narcotics. 18 U.S.C. § 3553(a)(2)(C). Accordingly, his motion does not provide

 sufficient confidence that he will abide by the law in the future. This Court should

 decline to reduce his sentence.




                                            15
Case 1:98-cr-00183-WS-C Document 269 Filed 06/02/20 Page 16 of 16         PageID #: 428




 IV.    Conclusion

        In sum, the United States respectfully urges the Court to deny Malone’s motion

 for relief.

                                               Respectfully submitted,

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                                          16
